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Tracy J. Crane (ISB #6830)

HOLLAND & HART LLP

lOl South Capitol Boulevard, Suite 1400
Boise, ID 83702

Mailing Address:

P.O. Box 2527

Boise, ID 83701-2527

Telephone: (208) 342-5000

Facsirnile: (208) 343-8869

Attorneys for Defendant Metropolitan Life Insurance Company

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

JAMES FRITZSCHE,
DAVID ERICKSON,
DON FRITZSCHE, fka DON COX,

Case No.

Plaintiff, NOTICE OF REMOVAL

VS.

METROPOLITAN LIFE INSURANCE
COMPANY,

Defendant.

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Defendant Metropolitan Life Insurance Company (“MetLife”) submits this Notice
of Removal for the purpose of removing the above-entitled action from the District
Court of the First Judicial District, Boundary County, Idaho, to the United States
District Court for the District of Idaho, and states as follows in support of this removal.

l. Plaintiff J ames Fritzsche is an individual, Who resides in Bonners Ferry,
Idaho. See affidavit of Mark Barrett, il 2, Which MetLife has attached to this notice as

Exhibit A.

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2. Plaintiff David Erickson is an individual, who resides in Bonners Ferry.

' See Exhibit A, il 3.

3. Plaintiff Don Fritzsche, formerly known as Don Cox, is an individual, who

resides in Boise, idaho. See Exhibit A, 11 4§

4. MetLife is an insurance company organized and existing by virtue of the
laws of the state of New York with its principal place of business in New York, and,

therefore, is a “non-Idaho” corporation See Exhibit A, 11 5.

5. MetLife is named as the defendant in a civil action commenced against it
in the District Court of the First Judicial District, Boundary County, Idaho, entitled
James Frz'z‘zsche, et al. v. Metropolz'tan Lz'fe Insurance Company, and assigned case

number CV 07-75.

6. MetLife first received notice of this action when it was served with a copy

of the Summons and Complaint (“the Complaint”) on April lO, 2007. See EXhibit A,

116.

7. Upon inquiry by MetLife’s counsel, no further state court proceedings

have occurred or are scheduled in this matter.

8. The plaintiffs have asserted claims for breach of contract, tortuous
interference with contract, negligence, insurer’s bad faith, and the statutory award of
attorney’s fees against MetLife, and seek payments under a contract, other unspecified

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damages, and the statutory award of attorney’s fees pursuant to Idaho Code §§ 41-1329,
l2-120, and l2-l2l. See copy of Complaint, which MetLife has attached to this notice

as Exhibit B, 11[ VI-XXXL and Prayer for Relief at pp. ll-l2.

9. Based on the allegations of the Complaint, the plaintiffs seek the recovery
of payments allegedly due under a structured settlement contract from June l, 2005
through June l, 2025. Complaint, 111[ III(B)-(E), VII-VIII. Exhibit A, 11 7.

lO. The total amount of the payments allegedly due under the structured
settlement contract is $ 126,500, and this amount increases every month by the amount

of $ 5,500. See Exhibit A, il 8.

ll. Based on the amount of contractual payments at issue, the plaintiffs are

seeking the award of damages greater than the jurisdictional amount of $75,000.

12. Based on the foregoing, this action is properly removable, because it is a
suit over which the United States District Court for the District of Idaho would have
original “diversity” jurisdiction pursuant to 28 U.S.C. § 1332 and which is therefore

removable to this court by MetLife pursuant to 28 U.S.C. § l44l(a).

13. MetLife will serve and certify service of copies of this Notice of Removal

to the plaintiffs as required by 28 U.S.C. § l446(d).

l4. A copy of this Notice of Removal will be filed with the Office of the Clerk

of the District Court of the First Judicial District, Boundary County, Idaho, as required

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by 28 U.S.C. § 1446(d). MetLife has attached a copy of the state court notice to this

notice as Exhibit C.

THEREFORE, defendant Metropolitan Life Insurance Company gives notice

pursuant to 28 U.S.C. § 1446 of the removal of this action from the Office of the Clerk

of the District Court of the First Judicial District of Boundary County, Idaho, and

request that this Court enter such further orders as may be necessary and proper.

DATED this 27th day of Aprii, 2007.

Addresses of Defendans:

One MetLife Plaza
27-01 Queens »Plaza North

Long Island City, NY 11101-4015

Respectfully submitted, _

C”C;.L ":§`<»»/

 

rracy J. créne (ISB #6830)

HOLLAND & HART LLP

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Boise, ID 83702

Mailing Address:

P.O. Box 2527

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Facsimile: (208) 343-8869

ATTORNEYS FOR DEFENDANT
METROPOLITAN LIFE INSURANCE
COMPANY '

 

 

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CERTIFICATE OF SERVICE

I certify that on this 27th day of April, 2007, l served a copy of the foregoing
document to the following via the method identified below:

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3702205_1.DOC

U.S. Mail, postage prepaid

Hand Delivery

Facsimile

Electronic Service by CourtLink.Com

Daniel P. Featherston

113 South Second Avenue
Sandpoint, ID 83864

(208) 263-6866

(208) 263-0400 (facsimile)

 

 

